Case 1:18-mj-00349-LF Document3 Filed 02/02/18 Page1ofi1

i

Mod AO 442 (09/13) Arrest Warrant AUSA Name & Telno: Jessica Greenwood - (212) 637-1090
ee sore

UNITED STATES DISTRICT COURT

for the

Southern District of New York 4 L q
United States of America
CASEY MICHAEL ANTONE Case Np. @ & et
» “TL 8 MAGE Eos
) ny 2
Defendant - =
ARREST WARRANT S

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arresied) CASEY MICHAEL ANTONE _ 3
who is accused of an offense or violation based on the following document filed with the court:

CI Indictment C] Superseding Indictment 0) Information © Superseding Information we Complaint
© Probation Violation Petition Ci Supervised Release Violation Petition Violation Notice O Order of the Court

This offense is briefly described as follows:

Conspiracy to Commit Access Device Fraud (18 USC 1029(a)(2), (a)(5), and (b)
Conspiracy to Commit Wire Fraud (18 USC 1349)
’ Wire Fraud and Aiding and Abetting the Same (18 USC 1343 and 2)
Fraudulent Use of Credit Cards and Aiding and Abetting the Same (15 USC 1644(e), 18 USC 2)

Date: 02/01/2018 [Br And Tit

Issuing officer's signature

City and state: | New York, New York Hon. Kevin N. Fox, U.S. Magistrate Judge

Printed name and title

Return

This warrant was received on (date) 2/ / / ig _, and the person was arrested on (date) 2/ 2/ / %
at (city and state) A buy u Cry we NV 4 2
- e f

Date: 21 Z / 1% EOE LoL > ~

Arresting officer's signature

SSA MAK Ru93/ep-

Printed name and title

